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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                            )
LENORA NICOLE HARTSFIELD,                         )          CASE NO. 21-52551
       DEBTORS.                                   )          CHAPTER 7

MOTION TO REOPEN CHAPTER 7 CASE AND REAPPOINT CHAPTER 7 TRUSTEE

       COMES NOW Lenora Nicole Hartsfield, Debtor, through undersigned counsel, and

moves this Court to reopen this Chapter 7 case. In support thereof, Debtor shows the Court as

follows:

                                                1.

       This case was commenced upon Debtor’s filing a Voluntary Petition in Bankruptcy for

relief under Title 11, Chapter 7 of the United States Code, on March 29, 2021.

                                                2.

       This case was closed without discharge on July 28, 2021.

                                                3.

       Debtor failed to attend a 341 Meeting of Creditors while the case was pending.

                                                4.

       Debtor now moves this Court to reopen this case to allow Debtor to amend her schedules

to include two lawsuits, to reappoint the Chapter 7 Trustee, attend the 341 Meeting of Creditors,

and for the Chapter 7 Trustee to administer the assets in the Debtor’s case.

                                                5.

       Debtor has paid the $260.00 fee to reopen the case.
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       WHEREFORE, Debtors respectfully requests this Court:

   1. Reopen the Debtor’s case;

   2. Reappoint the Chapter 7 Trustee;

   3. Allow Debtor to amend her schedules to include the personal injury lawsuit;

   4. Reschedule a 341 Meeting of Creditors;

   5. Allow the Chapter 7 Trustee to administer the case; and

   6. For any other relief this Court sees just and proper.


This Friday, August 12, 2016.

_/s/____________________
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                                CERTIFICATE OF SERVICE

       I hereby certify that on Tuesday, May 10, 2022, a copy of this Motion to Reopen was
served by regular United States mail to all interested parties listed below.

Lenora Nicole Hartsfield
2445 Rex Road J/1
Ellenwood, GA 30294

United States Department of Justice
Office of the United States Trustee
362 Richard B. Russell Building
75 Ted Turner Drive, S.W.
Atlanta, Georgia 30303

S. Gregory Hays, Chapter 7 Trustee
Hays Financial Consulting, LLC
Suite 555
2964 Peachtree Road
Atlanta, GA 30305
